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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 NO. 4:13CR0068-05-JLH
                                    NO. 4:16CV00366-JLH

DERRICK ANTHONY RHODES                                                             DEFENDANT

                                            ORDER

       Derrick Anthony Rhodes has filed a pro se motion to vacate, set aside or correct sentence

under 28 U.S.C. § 2255, based on Johnson v. United States, 135 S. Ct. 2551 (2015), and a motion

to appoint counsel.

       Defendant was not sentenced based on the “residual clause” of Armed Career Criminal Act

that was held unconstitutional in Johnson. Rather, he was sentenced as a career offender under the

Guidelines based on prior convictions for battery, stalking and a qualifying drug offense.

       Accordingly, the motion to vacate, set aside or correct sentence under 28 U.S.C. § 2255 and

motion to appoint counsel are denied. Documents #398 and #396. No certificate of appealability

will be issued.

       IT IS SO ORDERED this 15th day of June, 2016.



                                                     _________________________________
                                                     UNITED STATES DISTRICT JUDGE
